   Case: 1:21-cv-06082 Document #: 25 Filed: 11/22/21 Page 1 of 11 PageID #:291




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

 GROUPON, INC.,                                      )
                                                     )
                       Plaintiff,                    )
                                                     ) Case No. 21-cv-06082
     v.                                              )
                                                     ) Honorable Judge Charles P. Kocoras
 SUNG SHIN,                                          )
                                                     )
                      Defendant.                     )

                PLAINTIFF GROUPON, INC.’S REPLY IN SUPPORT OF
            EMERGENCY MOTION FOR TEMPORARY RESTRAINING ORDER

       In his Opposition to Groupon’s Emergency Motion for Temporary Restraining Order

(“Groupon’s Motion”), Shin mischaracterizes Groupon’s and Yelp’s platforms. His assertions are

belied by Yelp’s own publicly filed documents and the words of Yelp’s Chief Product Officer.

Shin also minimizes his high-level and strategic role at Groupon, disregards the real issue at the

heart of Groupon’s misappropriation claim, and, once again, misquotes the law.

       I.      GROUPON AND YELP ARE DIRECT COMPETITORS.

       Groupon and Yelp compete as online “marketplaces.” Both platforms facilitate consumer-

merchant engagement to drive consumer spend. See Declaration of Simon Goodall, attached

hereto as Exhibit A, ¶ 22. More specifically, Groupon and Yelp compete for the same merchants

and clients to provide services that bolster consumer engagement and inform advertising practices

through incremental customers and monetary spend through their similar marketplace platforms,

regardless of the revenue model used by the companies. Id., ¶ 24. Yelp and Groupon, in turn,

compete for the same merchants’ limited advertising dollars. Id., ¶ 6. Contrary to Yelp’s

assertions, Groupon has expanded beyond its Deal business, started in 2008, and now provides

merchants far more offerings, such as advertising strategies specifically developed by Shin, that

are competitive with Yelp’s offerings. (Patel Decl., ¶ 11); Id., ¶ 19. Indeed, advertising is one
    Case: 1:21-cv-06082 Document #: 25 Filed: 11/22/21 Page 2 of 11 PageID #:292




of Groupon’s core strategic growth initiatives. See Declaration of Simon Goodall, attached as

Exhibit A to Groupon’s Response in Opposition to Motion to Dismiss, ¶ 16. Yelp’s own 10-Q,

filed this month, reflects this inherent competition:

                  We [Yelp] generate substantially all of our revenue from advertising. If we
                  fail to maintain and expand our base of advertisers, our revenue and our
                  business will be harmed. In order to maintain and expand our advertiser
                  base, we must convince existing and prospective advertisers alike that our
                  advertising products offer them a material benefit and generate a
                  competitive return relative to other alternatives.

Cmplt.,     Ex.       E    thereto;    compare      with    Groupon      Annual     Repot       2020,

https://annualreport.stocklight.com/NASDAQ/GRPN/20625796.pdf             (“Our [Groupon’s] Local

category includes offerings from local and national merchants, and other revenue sources that are

primarily generated through our relationships with local and national merchants, including

advertising revenue.”).

         Further, Yelp’s 10-Q and its Chief Product Officer’s description of the Yelp Audiences

platform, in particular, demonstrate, like Groupon, Yelp competes for merchants’ advertising

spend.    See https://www.businesswire.com/news/home/20211116005328/en/Yelp-Announces-

New-Ad-Products-to-Help-National-Advertisers-Connect-at-the-Local-Level           (quoting      Yelp’s

Chief Product Officer as stating “[w]ith each new ad product we roll out, we’re further enabling

national and multi-location advertisers to tell their story on Yelp”)(emphasis added).

         Industry publications similarly describe Yelp’s platform as “the company that connects

people with great local businesses.” See Yelp Announces New Ad Products to Help National

Advertisers Connect at the Local Level | Business Wire (stating that “Yelp provides a one-stop

local platform for consumers to discover, connect and transact with local businesses of all sizes”).

That is exactly what Groupon does. Investment advisors characterize Yelp and Groupon as “two

of the best-known brands addressing the online local services market - both with high brand


                                                   2
    Case: 1:21-cv-06082 Document #: 25 Filed: 11/22/21 Page 3 of 11 PageID #:293




awareness and a shared vision of connecting consumers with local businesses.” Cmplt., Ex. H

thereto (emphasis added).

       Shin’s roles at Groupon and Yelp overlap in the most material ways, notwithstanding

Shin’s different titles. Shin’s title at Yelp and Yelp’s organizational structure in which Shin will

work and report are irrelevant. Shin operated in a “product development role” at Groupon, just as

he will at Yelp. Ex. A, ¶ 11; (Resp., p. 4). Groupon’s product (i.e., the system facilitating the

merchant-consumer connection) was central to and drove Shin’s role at Groupon. Ex. A, ¶ 7. Shin

collaborated with Groupon’s Product team to implement and execute the strategies he derived from

studying the Company’s merchant-specific analyses and global financial metrics. Id., ¶ 11.

       As a Groupon Vice President, Shin operated cross-functionally; he did not work in a

vacuum, and he was not siloed from the Company’s other departments. Id., ¶ 10. This aspect of

his cross-functional role dealt primarily with how a transaction is consummated, how a merchant

provides details of a product, and the tools and systems Groupon uses to drive consumer spend.

Id., ¶ 11. Shin was accountable for the delivery of the entire business, not just Groupon’s business

operations. Id., ¶ 12. This included the technical aspects of implementing the strategies Shin

specifically crafted on behalf of Groupon. Id. To do this, Shin collaborated with Groupon’s Vice

President of Engineering and directed the Product Team to work with the Engineering Team to

implement the strategy Shin developed. Id.

       Shin will lead advertising initiatives at Yelp directly competitive with those he led at

Groupon, such as Yelp Audiences. Id., ¶ 8; (Resp., p. 4). Tom Foran, Yelp’s Senior Vice

President and Head of Go-To-Sponsored Collections, explained Yelp Audiences as “enabl[ing]

advertisers to create meaningful connections with local businesses and consumers.” (emphasis




                                                 3
      Case: 1:21-cv-06082 Document #: 25 Filed: 11/22/21 Page 4 of 11 PageID #:294




added).         See https://www.businesswire.com/news/home/20211116005328/en/Yelp-Announces-

New-Ad-Products-to-Help-National-Advertisers-Connect-at-the-Local-Level.

          Advertising, and more specifically, driving impression extension strategies, serves as the

foundation of Shin’s role at Yelp. Shin himself acknowledged that Yelp Audiences “aligns with

the data roadmap we [Groupon] built out.” Cmplt., Ex. J thereto.

          II.       THE NON-COMPETE IS REASONABLE AND ENFORCEABLE, AND
                    SHIN’S EMPLOYMENT AT YELP CONSTITUTES A BREACH.

          As Yelp’s and Groupon’s publicly filed documents make clear, Shin will have business

accountabilities to outcomes and results, which mirrors his responsibilities during his employment

with Groupon and will lead to certain breach of the Agreement. Yelp’s own characterizations of

its advertising platform and objectives, and its representations with respect to Shin’s role at Yelp

underscore that Shin’s job at Yelp falls squarely within the prohibitions of the Agreement’s

narrowly tailored activity restraint and constitutes a breach of the Agreement. Cmplt., Ex. A, ¶

13.

          Shin’s non-competition covenant also is reasonably tailored to protect Groupon’s

legitimate business interests. Shin mischaracterizes Groupon’s protectible interests as tangible

“documents, files . . . about Groupon.” (Resp., p. 3). Groupon’s legitimate business interest is the

protection of its confidential and proprietary information and trade secrets and its goodwill and

relationship with its merchants and customers. Ex. A, ¶¶ 13, 15. Shin disregards the real issue.

The trade secrets and confidential information at issue are not contained on a single piece of paper

or in a solitary spreadsheet. Rather, Groupon seeks to safeguard the intangible trove of merchant-

specific data and metrics Shin regularly accessed, studied and relied upon to develop and

implement Groupon’s current and long-term advertising strategies. Ex. A, ¶ 15. Groupon’s




                                                  4
    Case: 1:21-cv-06082 Document #: 25 Filed: 11/22/21 Page 5 of 11 PageID #:295




advertising methodology is not proprietary.      Rather, the data and metrics from which the

methodology is derived is proprietary and what Groupon seeks to protect.

       Shin acquired knowledge, solely by virtue of his employment with Groupon, of Groupon’s

historical and current advertising data, such as merchant-by-merchant analyses of advertising

spend, return on spend, preferences, objectives, obstacles, successes and failures to craft

advertising strategies.   Ex. A, ¶ 15. Groupon provided Shin with its holistic financial and

performance data to analyze the interplay of Groupon departments, such as the Engineering and

Product departments, and to assess their impact on Groupon’s advertising platform. Id., ¶¶ 12,

15. These are recognized protectable interests. See, e.g., Fisher/Unitech, Inc. v. Computer Aided

Tech., Inc., 2013 WL 1446425, at *3 (N.D. Ill. Apr. 9, 2013) (“There is no question that protecting

confidential operational and customer information is a legitimate, protectable business interest of

an employer”). The synthesis of this information drove Shin’s role at Groupon; he cannot now

unlearn this sensitive and proprietary information.

       Additionally, the Agreement is supported by sufficient consideration (as further discussed

below), and the restrictions are narrowly tailored to safeguard Groupon’s protectible interests.

Contrary to Shin’s contentions about the breadth of the activity restraint, Shin’s non-compete

applies only to positions with responsibilities similar to any position he held with Groupon during

the twelve (12) months preceding his termination or in which he would have responsibility for and

access to confidential information similar or relevant to that which he had access to during the

twelve (12) months preceding his termination. Cmplt., Ex. A, ¶ 13. This is a limited and

reasonable activity restraint.




                                                5
    Case: 1:21-cv-06082 Document #: 25 Filed: 11/22/21 Page 6 of 11 PageID #:296




       III.    THE AGREEMENT IS VALID AND ENFORCEABLE UNDER
               WASHINGTON AND ILLINOIS LAW.

       Once again, Shin misquotes the Washington non-compete statute and ignores that the

Agreement satisfies each of the requisite elements under RCW 49.62.020. Shin’s non-compete

satisfies the salary threshold, satisfies the time limitation and satisfies the notice requirement. See

RCW 49.62.020.

       The Washington statute does not require application of Washington law or selection of a

Washington venue. The statute is clear. It plainly states, “[a] provision in a noncompetition

covenant . . . is void and unenforceable: (1) If the covenant requires the employee or independent

contractor to adjudicate a noncompetition covenant outside of this state; and (2) To the extent it

deprives the employee or independent contractor of the protections or benefits of this chapter.”

RCW 49.62.050. The Agreement in no way deprives Shin of the benefits or protections set forth

in RCW 49.62.020.

       Contrary to Shin’s haphazard analysis, the Agreement is valid and enforceable under

Illinois law. The non-compete is narrowly tailored to restrict only that activity which is reasonably

necessary to protect Groupon’s legitimate interests, as explained supra. The covenant’s 18-month

temporal restriction is also reasonable under Illinois law, see My Favorite Muffin, Too, Inc. v.

Maosheng Wu, 2002 WL 826483 (N.D. Ill. Apr. 29, 2002) (upholding a restriction of two years).

See also RCW 49.62.020(2) (finding temporal restrictions of eighteen months presumptively valid

and enforceable under Washington law).           The Agreement is also supported by adequate

consideration. Shin cites to Fifield to argue the non-compete is unenforceable because Shin was

not employed for two years. But Shin ignores that his Offer Letter specifically stated it was

conditioned upon his execution of the Agreement and provided additional consideration in

exchange for Shin’s agreement and acceptance of the terms of the Agreement, such as a $275,000


                                                  6
    Case: 1:21-cv-06082 Document #: 25 Filed: 11/22/21 Page 7 of 11 PageID #:297




salary, a sign-on bonus 1, eligibility for annual bonus (of which over $45,000 was paid to him in

June 2021), RSUs valued at $700,000 and access to Groupon’s trade secrets and confidential

information. See McInnis v. OAG Motorcycle Ventures, Inc., 35 N.E.3d 1076, 1084 (Ill. App. Ct.

2015) (highlighting additional incentives, such as a bonus, are adequate consideration for a restrictive

covenant even in absence of two years of employment).

        IV.     ACTUAL MISAPPROPRIATION IS NOT REQUIRED.

        Shin’s contention that he has not actually misappropriated any tangible document from

Groupon is immaterial. The threatened misappropriation of Groupon’s trade secrets is sufficient

to establish a violation of the ITSA and DTSA. See 735 ILCS 1065/3(a); 18 U.S.C. § 1836(b)(3).

The global and advertising-specific metrics Shin learned and relied upon to target merchants for

advertising spend are valuable to competitors, namely Yelp, and fall squarely within the

parameters of recognized “trade secrets.” See, e.g., See Fire ‘Em Up, Inc. v. Technocarb

Equipment (2004) Ltd., 799 F. Supp. 2d 846, 850 (N.D. Ill. 2011) (among other things,

combinations or compilations of materials necessary to create product or perform certain services;

programs, methods, techniques and devices used to create product and render services; financial

data, marketing plans and advertising strategies constitute trade secrets).

        Groupon’s data paints a portrait of Groupon’s advertising clients (i.e., the same merchants

Yelp targets for advertising spend), and is comprised of their respective preferences, objectives,

obstacles and advertising profitability. Shin cannot help but use and rely upon this information to

perform his duties for Yelp. He can and necessarily will mold Yelp’s advertising strategies by

anticipating merchant objections and catering to their objectives, information derived solely by

virtue of his Groupon employment, to achieve Yelp’s goal of “generat[ing] a competitive return


1
 While Shin contends he repaid his sign-on bonus when Groupon commenced this litigation, to date, Groupon has
not received such repayment.


                                                     7
    Case: 1:21-cv-06082 Document #: 25 Filed: 11/22/21 Page 8 of 11 PageID #:298




relative to other alternatives.” Cmplt., Ex. E. See Allied Waste Servs. of N. Am., LLC v. Tibble,

177 F. Supp. 3d 1103, 1112 (N.D. Ill. 2016) (noting that under a theory of inevitable disclosure,

plaintiff must merely show that the employee “cannot operate without inevitably disclosing the

confidential information”).

       V.      GROUPON WILL SUFFER IRREPARABLE HARM ABSENT
               CONTINUATION OF THE TRO.

       Shin’s employment at Yelp undoes the competitive advantage Groupon derived from the

years and significant resources it invested in learning and analyzing, among other things, merchant

preferences, objectives and objections. First, Shin spent many months learning the intimate details

of Groupon’s advertising and revenue business, and used this confidential information to develop

and help implement targeted advertising methods that connect consumers to merchants – the same

merchants Yelp competes with for advertising spend. As the Vice President and general manager

of Groupon’s advertising business, Shin worked directly with and oversaw Groupon’s Product

Team in order to define business strategy and requirements. Ex. A, ¶ 12. In doing this, Shin

developed Groupon’s system that facilitates a merchant connecting with a customer. Id., ¶ 6. He

was accountable for the delivery of the entire business, not just Groupon’s business operations.

Id., ¶ 12. This included the technical aspects of implementing the strategies Shin specifically

crafted for Groupon. Id. To do this, Shin collaborated with Groupon’s Vice President of

Engineering and directed the Product Team to work with the Engineering Team to implement his

multi-year strategies. Id. He will inevitably take these strategies to Yelp, resulting in irreparable

harm to Groupon.

       Second, Groupon allowed Shin to continue to work during his notice period because it

needed him to effectively transition his work. Shin is a Vice President and the Global Head of

Advertising. He is not a low-level employee who can resign effective immediately with little to


                                                 8
    Case: 1:21-cv-06082 Document #: 25 Filed: 11/22/21 Page 9 of 11 PageID #:299




no consequences or residual effect on Groupon’s workforce. Also, Shin did not participate in the

sensitive weekly and monthly meetings during his notice period. Shin himself acknowledged he

should not be a part of those meetings because he knew those meetings centered around Groupon’s

confidential and proprietary information. Expecting Shin to not steal trade secrets in the last two

weeks of his employment has nothing to do with Groupon’s legitimate concerns that he will use

his expansive pre-notice knowledge base to unfairly compete at Yelp. Moreover, during the notice

period, Groupon offered to continue to employ Shin and to provide him with his full base pay and

incentive compensation while he searched for other employment that did not violate his post-

employment obligations to Groupon. Cmplt., ¶ 3. It was not until the end of his notice period

when Shin rejected Groupon’s offers. The fact that Shin worked his notice period has no bearing

on the irreparable harm Groupon will suffer absent continuation of the TRO.

       VI.     GROUPON ATTEMPTED TO AVOID THIS LITIGATION.

       Groupon made several, reasonable overtures to Shin to avoid this litigation. When Shin

announced his resignation, Groupon offered Shin the opportunity to remain employed at Groupon

with full benefits while he searched for employment that did not violate his post-employment

obligations to Groupon. Cmplt., ¶ 1. At the end of his notice period, Shin refused these reasonable

overtures. Id. On the evening of November 12, 2021 – Shin’s last day at Groupon – Shin’s counsel

informed Groupon’s counsel that Shin was not interested in discussing a resolution and would

commence employment with Yelp on November 15, 2021. See Declaration of Kevin Cloutier,

attached hereto as Exhibit B, ¶¶ 8-9. Groupon filed its motion for temporary restraining order that

same evening, and waited for a judge assignment and hearing date. Id., ¶ 10.

       Groupon’s counsel served Shin’s counsel with the suite of filings on November 14, 2021,

promptly after Shin’s counsel confirmed in writing Shin would begin his employment at Yelp the




                                                9
   Case: 1:21-cv-06082 Document #: 25 Filed: 11/22/21 Page 10 of 11 PageID #:300




following day. Id. Groupon informed Shin’s counsel prior to Shin’s commencement of employment

with Yelp that it had filed its Motion. Id.

                                              CONCLUSION

        For the foregoing reasons, Plaintiff Groupon, Inc. respectfully requests this Court enter an

Order: (i) extending this Court’s Order granting Groupon’s Motion for a Temporary Restraining

Order in its entirety; (ii) prohibiting Shin from employment with Yelp pending adjudication of the

merits of Groupon’s claims; (iii) prohibiting Shin from using, referencing or misappropriating

Groupon’s trade secrets, proprietary and confidential information; (iv) prohibiting Shin from

soliciting Groupon’s customers or employees; (v) awarding Groupon attorneys’ fees and costs

incurred in bringing this motion; and (vi) awarding any other relief this Court deems equitable and

just.

Dated: November 22, 2021                               Respectfully submitted,

                                                       GROUPON, INC.


                                                       By: /s/ Kevin M. Cloutier
                                                                One of Its Attorneys


                                                       Kevin M. Cloutier (6273805)
                                                       Shawn D. Fabian (6310637)
                                                       SHEPPARD MULLIN RICHTER & HAMPTON LLP
                                                       70 West Madison Street, 48th Floor
                                                       Chicago, Illinois 60602
                                                       Tel: (312) 499-6300
                                                       Fax: (312) 499-6301
                                                       kcloutier@sheppardmullin.com
                                                       sfabian@sheppardmullin.com




                                                  10
   Case: 1:21-cv-06082 Document #: 25 Filed: 11/22/21 Page 11 of 11 PageID #:301




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on November 22, 2021, a copy of the foregoing was

filed with the Court’s CM/ECF system, which will serve all counsel of record.



                                                    /s/ Kevin M. Cloutier
                                                          Kevin M. Cloutier




                                              11
